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            APPENDIX R
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        480. Defendant ignores three more reliable measurements—time of onset, duration, and

rate of structure overtopping by surge. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶10, 12(a),

19-27, 29-32; Exh. 90, Bea Supp. Decl. (Oct. 2008) at ¶4.

        481. Defendant also mischaracterizes Plaintiffs’ modeling data demonstrating that the

MR-GO had a direct effect on substantially increasing oceanographic stresses on the LPV flood

control structures due to earlier onset and more prolonged duration of surge above a critical

elevation. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶10, 12(a), 19-27, 29-32; Exh. 90, Bea

Supp. Decl. (Oct. 2008) at ¶4.

        482. Defendant further ignores the destructive role of wave side attack—before

overtopping—in the failure of the EBSBs along Reach 2. Exh. 90, Bea Supp. Decl. (Oct. 2008)

at ¶5(b).

        483. There are numerous flaws in the computer modeling by Defendant’s three experts—

Westerink, Ebersole, and Resio—including use of a Beta version of ADCIRC (SL-15), random

results, inaccurate input data, and others. Exh. 93, Kemp Supp. Decl. (Jan. 2009) at pp. 4-6, 13-

14; Exh. 94, Kemp Expert Decl. (Jan. 2009) at pp. 25-30; Exh. 82, Bea Expert Report. (Jan.

2009) at pp. 167-199; Exh. 106, Vrijling, Joint declaration, Vrijling, Kok, de Wit, and Gautier

concerning wave and flow modeling New Orleans -- MRGO for Hurricane Katrina, August 2005

(Jan. 2009) at p. 12.

     DAMAGE TO LPV STRUCTURES CAUSED BY MR-GO’S EXACERBATION
                      OF STORM PARAMETERS

Catastrophic Failures

        484. The LPV flood protection system failed catastrophically, producing the single most

massive failure of an engineered system in United States history. Over 170 of the 350 miles of

the LPV system were either destroyed or damaged at 50 different locations, primarily as a result



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of overtopping.. Exh. 3, ILIT at p. 12-10; Exh. 26, Decision Making Chronology at p. 2-17 Exh.

4, Team Louisiana Report at p. 3.

       485. As set forth below, the major breach sites in New Orleans and St. Bernard Parish

from Hurricane Katrina are depicted below. Exh. 20, IPET at I-8-1 to I-8-7; Figures 8-1, 8-2, 8-

3, Table 8-1.




Exh. 20, IPET at p. I-8-1, Fig. 8-1.




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Exh. 20, IPET at p. I-8-2, Fig. 8-2.




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Exh. 20, IPET at p. I-8-3, Fig. 8-3.




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Exh. 20, IPET at pp.. I-8-5 through I-8-7, Table 8-1.




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Overtopping and Breaching

       486. A “breach” of a flood protection work refers to when the section of a flood

protection work and/or the pre-storm crown elevation erodes away or is washed away and no

longer exists. By contrast, overtopping entails storm water crossing over the crown elevation of

a flood protection work to the protected side. Exh. 27, Varuso Depo. at 159:22-160:12.

       487. Overtopping can cause structure failure by the overflowing water eroding the soil

on the protected side and destabilizing the structure. Exh. 77, Bea Tech. Report No. III (July

2008) at p. 10.

       488. As depicted in Figure 26 below, the east side of Greater New Orleans that faces

Lake Borgne experienced a higher level of storm surge during Katrina than Orleans Metro south

of Lake Pontchartrain. The surge from Lake Borgne propagated as a high velocity bore through

Reach 1/GIWW to the IHNC, causing maximum water levels in that canal to rise to 15.7 ft

NAVD88 (2004.65), while surge along the lakefront to the west was 2 to 4 ft lower. The highest

surges predicted and observed for Greater New Orleans were in the throat of the “funnel” east of

Paris Road. Overtopping LPV structures in the Reach 1/GIWW connection to the IHNC west of

Paris Road provided the majority of the water that flooded New Orleans East. The Reach

1/GIWW LPV structures east of the junction are the only LPV structures that should have

experienced extensive overtopping during Katrina. Unfortunately for St. Bernard, the Reach 2

LPV structures did not wait for overtopping, but were largely destroyed before they could be

overtopped, at an earlier stage in the storm sequence. Exh. 4, Team Louisiana Report at pp. 46-

47; Exh. 91, Kemp Expert Report (July 2008) at pp. 95-158; Exh. 71, Bea Expert Report (July

2008) at pp. 6-7, 12.




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 Exh. 4, Team Louisiana Report at p. 46, Fig. 26.

         489. The overtopping waves created very high water velocities down the back sides of

the LPV structures, reaching 10 to 15 ft/sec. These velocities were two to three times those

experienced on the water side of these LPV structures (4 to 6 ft/sec). Since the potential for

erosion is related to the cube of velocity, it is no wonder that the back sides of the levees—

especially where they were comprised of erodible materials—were scoured away, leading in many

cases to complete breaching. There is a close correlation between the degree of breaching from

overtopping and erosion and the types of materials. For example, in New Orleans East, the

correspondence of breaching and hydraulic fill constructed levees is obvious. Exh. 20, IPET at p.

I-42; Figure 19a, 19b (pp. I-44, I-45)



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         490. Some overtopping of the LPV structures was expected due to the intensity of the

storm, which would result in localized flooding. However, the catastrophic flooding was caused

by the massive and numerous failures (breaches) of levees and floodwalls resulting largely from

the sustained overtopping and failures before overtopping due to wave attacks. Exh. 3, ILIT at p.

F-22; Exh. 72, Bea Decl. No. I (July 2008) at pp. 141-42; Exh. 94, Kemp Expert Report (Jan.

2009) at p. 29.

         491. As demonstrated above, a primary reason (and substantial factor) for the sustained

overtopping was the amplified surge and intensified waves caused by the MR-GO’s combined

effects which in turn were caused by the ship channel’s defects. Exh. 81, Bea Expert Report (Jan.

2009) at pp. 3-16, ¶¶1-14.

         492. Similarly, a primary reason (and substantial factor) for the breaches of LPV

structures was the overtopping and wave attacks on the unprotected (water) sides caused by the

MR-GO’s combined effects which in turn were caused by the MR-GO’s defects. Exh. 81, Bea

Expert Report (Jan. 2009) at pp. 3-16, ¶¶1-14.

         493. Overtopping was most severe on the east side of the flood protection system as the

 waters of Lake Borgne were driven west towards New Orleans, and also farther to the south,

 along the lower reaches of the Mississippi River. Overtopping of flood protection works along

 the IHNC and Reach 1 and Reach 2 of the MR-GO was a major source of flooding of populated

 areas in New Orleans East, St. Bernard Parish and the Lower Ninth Ward. Significant

 overtopping and erosion—plus wave erosion before overtopping—produced numerous breaches

 in these areas. Overtopping caused erosion of the soil on the protected (population) side of the

 flood protection works and then a failure of the structure and even more extensive flooding. The

 magnitude of overtopping was less severe along the IHNC and along the western portion of the




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 MR-GO, but this overtopping again produced erosion and caused additional levee failures. Exh.

 91, Kemp Expert Report (July 2008) at pp. 2-3; Exh. 94, Kemp Expert Report (Jan. 2009) at p. 3,

 ¶6; Exh 71, Bea Expert Report (July 2008) at pp. 6-22, ¶¶1-22; Exh. 81, Bea Expert Report (Jan.

 2009) at pp. 3-16, ¶¶1-13; pp. 27-34, ¶¶24-42; Exh. 29, Dalrymple Expert Report at pp. 6-7; Exh.

 4, Team Louisiana Report at p. 133, Table 15.

        494. As Plaintiffs’ experts have concluded, if the breaching of LPV structures or the

overtopping of LPV structures along the MR-GO had not occurred, there would have been only

minor inundation in New Orleans East, Lower 9th Ward, and St. Bernard Parish, but not

catastrophic flooding. Exh. 91, Kemp Expert Report (July 2008) at pp. 2-3; Exh. 94, Kemp Expert

Report (Jan. 2009) at p. 3, ¶6; Exh 71, Bea Expert Report (July 2008) at pp. 6-22, ¶¶1-22; Exh. 81,

Bea Expert Report (Jan. 2009) at pp. 3-16, ¶¶1-13; pp. 27-34, ¶¶24-42.

        495. If there had been no overtopping or breaching of flood protection works throughout

 the LPV system and there was only the 12 inches of recorded rainfall, there would have been

 some localized, but not catastrophic flooding. Exh. 28, Dalrymple Depo. (Sept. 18, 2007) at

 111:3-17; Exh. 91, Kemp Expert Report (July 2008) at p. 16.

 Reach 1

        496. The maximum surge at the IHNC during Katrina was approximately 16 feet. Exh.

 90, Bea Supp. Decl. (Oct. 2008) at p. 17, Table 1.

        497. The Citrus Back Levee along the north side of Reach 1/GIWW) east of Paris

 Road—which was ranged from about 15.5 feet to 18 feet—was overtopped primarily by waves

 but was not breached and proved to be quite resilient. The design level of protection of the

 Citrus Back Levee to the west of Paris Road was approximately 3 feet lower, and perhaps as low

 as 12.5 feet in places. It experienced a surge of over 16 feet with some unanticipated waves.




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 The LPV structure here held up well under several feet of overtopping, but I-walls integrated into

 the levee failed as a result of back scour. Exh. 4, Team Louisiana Report at p. 134; Exh. 74, Bea

 Expert Decl. III (July 2008) at pp. 12-25; 144-46, ¶¶134-38.

        498. The sections of the Citrus Back Levee along the north side of Reach 1 of the MR-

 GO—which were overtopped but not severely eroded—were also constructed from more

 cohesive, less erodible, and more compacted soils than the soils used for the Reach 2 and New

 Orleans Back Levee flood protection works. Exh. 74, Bea Expert Decl. III (July 2008) at pp. 20-

 21.

 Reach 2

        499. The maximum surge along Reach 2 was 18 feet. Exh. 90, Bea Supp. Decl. (Oct.

2008) at p. 17, Table 1.

        500. Along Reach 2, failures of LPV structures were caused by either breaching by

waves before overtopping or breaching by a combination of waves and surge. Exh. 72, Bea

Expert Decl. I (July 2008) at pp. 141-42; Exh. 94, Kemp Expert Decl. (Jan. 2009) at pp. 26-29.

        501. When overtopping occurred, there was associated breaching of the flood protection

works, leading to massive erosion of the structures and water pouring into St. Bernard Parish.

Exh. 28, Dalrymple Depo. (Sept. 18, 2007) at 119:14-23.

        502. The surge water went over the flood protection works, eroded the bank materials,

and then the structures failed. There were 50 breaches along Reach 2 alone. Some of the crowns

along a 12-mile stretch of Reach 2 eroded 10 feet below the crowns existing before Hurricane

Katrina. Exh. 28, Dalrymple Depo. (Sept. 18, 2007) at 77:13-17; 155:24-156:13; Exh. 27, Varuso

Depo. at 72:19-73:8; Exh. 91, Kemp Expert Report (July 2008) at p. 159-184.




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        503. During Hurricane Katrina, the LPV structures along Reach 2 were overtopped

anywhere between one and one half feet and five feet above the existing elevation, and this

significant amount of overtopping caused the erosion and subsequent breaches. Exh. 94, Kemp

Expert Decl. (Jan. 2009) at pp. 33, 35.

        504. On the south side of the funnel along the MR-GO, IPET interprets the maximum

 surge as being more uniform, ranging from 17.5 to 19.5 ft MSL. IPET adds between 1 and 3 feet

 for waves, giving a combined water level that ranges from 19.5 to 23.0 ft MSL. The design

 elevation for the levee crown in this area is 17.5 ft MSL, and the actual elevation ranged from 15

 to 18 ft MSL, so the stage was set for general overtopping. This overtopping, and the wave

 attack that preceded it, destroyed the Reach 2 LPV structures, causing complete loss in some

 places and significant degradation in most places as depicted below in Figure 23.




 Exh. 4, Team Louisiana Report at pp. 39-40.

        505. South of the Reach 1/GIWW channel that forms the throat of the funnel, the

 Chalmette LPV structures west of Paris Road were up to 4 feet deficient in spots, but, like the


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 Citrus Back Levee on the north side of Reach 1, they held up well under 4 to 6 feet of

 overtopping. The extent of the overtopping was exacerbated by the MR-GO deficiencies, and

 hastened the filling of the St. Bernard wetland buffer to the south, but this 7 mile LPV system

 reach did not breach. Exh. 4, Team Louisiana Report at p. 134

        506. The most severe EBSB degradation on Reach 2 occurred in segments adjacent to

where the highest waves were predicted to be immediately east of Bayou Dupre west to Bayou

Bienvenue. Exh. 94, Kemp Expert Decl. (Jan. 2009) at p. 29.

        507. Dr. Bea completed a study of pre and post-Hurricane Katrina LIDAR surveys of

 Reach 2 breach features that included model-supported erosion analyses for a number of

 representative segments. Dr. Bea concluded that:

        (a)       approximately 35 percent of the man-made flood defense structure along the

 Reach 2 alignment was breached by waves prior to surge overtopping;

        (b)       another 47 percent of the LPV structure was breached by a combination of waves

 and surge; and

        (c)       18 percent of the structure was overtopped but did not breach (sheet pile repair

 sections, Dupre and Bienvenue navigation structures, and some EBSB segments).

 Exh. 72, Bea Expert Decl. I (July 2008) at pp. 141-42.

        508. Dr. Bea identified which parts of the Reach 2 flood defense alignment were

damaged by waves or waves and surge. Significantly, Dr. Bea could not identify any damages

segment without some signature of wave-induced erosion, although he did find that 18 percent of

the structure was overtopped by surge without damage. When Dr. Bea investigated undamaged

segments using LIDAR and field surveys, he often found wave dissipating vegetated marsh

platforms backed by a band of woody vegetation at a slightly higher elevation between the




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channel edge and the toe of the flood protection structure. Exh. 72, Bea Expert Decl. I (July 2008)

at pp. 141-42; Exh. 94, Kemp Expert Decl. (Jan. 2009) at p. 29.

        509. Plaintiffs’ hydrodynamic experts have demonstrated the MR-GO’s uncontrolled

widening and deepening of the channels into the toe of the LPV structures on Reach 2 strongly

influenced the severity of the wave climate experience at the structure’s toe. Exh. 94, Kemp

Expert Decl. (Jan. 2009) at p. 27.

        510. The maximum surge elevation in part of Reach 2 EBSBs may have been fairly

uniform, but the wave climate was variable. Exh. 94, Kemp Expert Decl. (Jan. 2009) at p. 27.

        511. Along the Reach 2 LPV structures, numerous failures occurred before overtopping

 due to erosive wave action. Exh. 71, Bea Expert Report (July 2008) at pp. 13-14, Exh. 72, Bea

 Expert Decl. I (July 2008) at pp. 51-58, 86-88, 118-123, 132-142, Exh. 74, Bea Expert Decl.

 (July 2008) at pp. 67-74, 105-109, 117-119, 123-128, 140-144; Exh. 91, Kemp Expert Report

 (July 2008) at pp. 159-179.

        512. The maximum surge at the Bayou Bienvenue structure was 17.8 feet. Exh. 90, Bea

Supp. Decl. (Oct. 2008) at p. 17, Table 1.

        513. The south end of the Bayou Bienvenue navigation structure failed because of

instability attributable to seepage. Exh. 71, Bea Expert Report (July 2008) at pp. 20-21; Exh. 72,

Bea Expert Decl. I (July 2008) at pp. 147-51, 156-61; Exh. 74, Bea Expert Decl. III (July 2008) at

pp. 138-40.

        514. The maximum surge at the Bayou Dupre structure was 17.6 feet. Exh. 90, Bea

Supp. Decl. (Oct. 2008) at p. 17, Table 1.

        515. The north end of the Bayou Dupre navigation structure failed because of surge and

wave overtopping erosion of the interface. Exh. 71, Bea Expert Report (July 2008) at pp. 20-21;




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Exh. 72, Bea Expert Decl. I (July 2008) at pp. 147-51, 156-61; Exh. 74, Bea Expert Decl. III (July

2008) at pp. 138-40; Exh. 75, Bea Technical Report I (July 2008) at pp. 68-86, 87-95, and 95-96.

        516. If Reach 2 EBSBs had been overtopped without major breaching, floodwaters would

 have filled the Central Wetlands Unit bowl but Chalmette and the Lower 9th Ward would not

 have been flooded by storm surge waters. The volume of water from overtopping of the LPV

 structures would not have overtopped the Forty Arpent levee. Peak storm surge heights, above

 the height of the Reach 2 LPV structures, existed only for a few hours. If the Reach 2 system

 had withstood this brief peak water level, as did many other structures in the area which were not

 subjected to all the negative impacts of the MR-GO channel, much of the flooding of the

 populated areas would not have occurred. Exh. 81, Bea Expert Report (Jan. 2009) at p. 15, ¶13.




 Exh. 83, Bea Technical Report I (Jan. 2009) at p. 11, Fig. 11.


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         517. Early failure of the LPV structures along Reach 2 allowed the 32,000 acre wetland

buffer between the MR-GO and 40 Arpent Canal Back Levee (Central Wetlands Unit) to fill and

overtop the 40 Arpent Canal Back Levee while the surge was still rising, resulting in catastrophic

flooding in St. Bernard Parish to an elevation of at least 11 feet (NAVD88) as well as catastrophic

flooding in the Lower 9th Ward. Exh. 81, Bea Expert Report (Jan. 2009) at p. 15, ¶13; Exh. 83,

Bea Technical Report I (Jan. 2009) at p. 11; Exh. 4, Team Louisiana Report at p. v.

         518. Overtopping of resilient Reach 2 LPV structures at the design level (MSL) would

 have delivered only about half of the volume necessary to fill the 32,000 acre wetland (Central

 Wetlands Unit) behind, and initiate overtopping of, the local 40 Arpent Canal Back Levee. Had

 these LPV structures failed at a later stage in the surge hydrograph, or failed less completely, the

 storage capacity of the Central Wetlands Unit would likely have absorbed the discharge across

 the LPV structure alignment for long enough to save Chalmette and the rest of St. Bernard Parish

 and Lower 9th Ward from the disastrous flooding that occurred across the local 40 Arpent Canal

 Back Levee. Exh. 4, Team Louisiana Report at p. 135; Exh. 91 Kemp Expert Report (July 2008)

 at pp. 63, 66, 146.

 IHNC

         519. The maximum surge height in the IHNC was 17.5 feet during Hurricane Katrina as

shown in the “Katrina As Was” conditions (Scenario 1). Exh. 90, Bea Supp. Decl. (Oct. 2008) at

p. 17, Table 1.

         520. Under the “Neutral MR-GO” conditions (Scenario 2C), the maximum surge height

in the IHNC would have been 14.5 feet—three feet lower than the actual maximum surge height

during Hurricane Katrina. Exh. 90, Bea Supp. Decl. (Oct. 2008) at p. 17, Table 1.




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         521. The design elevation of the LPV structures along the IHNC was 14.8 feet. Exh. 73,

Bea Expert Decl. II (July 2008) at p. 28.

         522. The actual elevation of the LPV structures along the IHNC was between 12-12.5

feet during Hurricane Katrina. Exh. 90, Bea Supp. Decl. (Oct. 2008) at p. 17, Table 1.

         523. All of the LPV structure reaches exposed to the Lake Borgne surge system,

including those along the IHNC, experienced overtopping. If the IHNC LPV structures had been

at the design elevation, they should have experienced less than 1 foot of overtopping at peak

surge, rather than the 1.5 to 3.0 feet that occurred. This would have prevented some of the

breaches and transition failures. Exh. 4, Team Louisiana Report at pp. 133-34.

         524. Overtopping of the LPV system by Katrina occurred along nearly all portions of

 the IHNC. There were four breaches in the protection system, two on the east side and two on the

 west side. The east side breaches are both located in the Lower 9th Ward neighborhood and the

 west side breaches are both in the vicinity of France Road and Benefit Street. Exh. 20, IPET at

 p. III-439.

         525. Defendant’s experts have concluded that the failure of the LPV floodwall at the

 southern end of the east side of the IHNC (“South Beach”)—the larger of the two breaches—was

 caused (and preceded) by surge water pressure imposed on the LPV structure and overtopping

 and the resulting erosion of the soil on the protected side of the LPV floodwall. Exh. 81, Bea

 Expert Report, Summary (Jan. 2009) at pp. 27-28.

         526. The South Breach developed at a water level of 12 to 14 feet. Exh. 74, Bea Expert

Decl. III (July 2008) at p. 148, ¶141.

         527. The overtopping of this LPV floodwall at the southern end of the east side was

caused in part by the incremental three feet of surge caused by the “funnel effect,” and was a




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contributing cause of the South Breach. Exh. 72, Bea Expert Decl. No. II (July 2008) at p. 15,

¶25; Exh. 81, Bea Expert Decl. (Jan. 2009) at p. 6, ¶7.

         528. The South Breach developed from a combination of causes, including seepage and

hydraulic uplift effects caused by the EBIA site during excavation and backfilling work and

amplified surge in the IHNC caused by the “funnel effect” which increased LPV structure

overtopping intensities and devastation, thereby increasing the protected (back) side erosion. Exh.

81, Bea Expert Report (Jan. 2009) at pp. 28, ¶29.

         529. Both parties’ experts therefore agree that overtopping of the LPV structures was a

contributing cause of the South Breach. Exh. 82, Bea Expert Decl. (Jan. 2009) at p. 105, ¶147.

         530. Defendant’s experts have concluded that the failure of the LPV floodwall at the

northern end of the east side of the IHNC (“North Beach”) developed very early during the

morning of August 29th as a result of lateral instability due to surge water pressure imposed on

the LPV structure and the reduced cross section of the LPV structure at this location before

overtopping. Exh. 82, Bea Expert Decl. (Jan. 2009) at p. 104, ¶146.

         531. The North Breach developed at a water level of approximately 9 feet. Exh. 73, Bea

Expert Decl. II (July 2008), at p. 99, ¶107.

         532. Both Plaintiffs’ and Defendant’s experts agree that the North Breach developed

 before overtopping. Exh. 82, Bea Expert Decl. (Jan. 2009) at p. 104, ¶146.

 40 Arpent Canal Levee

         533. The storm surges produced by Hurricane Katrina passed over the Reach 2 LPV

 structure into the Central Wetlands Unit, then filled up the bowl, overtopped the 40 Arpent Canal

 Levee, and catastrophically flooded the St. Bernard/Lower 9th Ward polder. Exh. 20, IPET at p.

 IV-258.




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       534. The 40 Arpent Canal Levee—southwest of Reach 2 of the MR-GO—is the

nonfederal flood protection work intended to protect the adjoining St. Bernard population. This

local levee—with a design crest elevation is between 7.5 and 10 feet (MSL)—was severely

overtopped along much of its length during Katrina. This structure suffered relatively little

erosion damage even though its highest points were lower than the EBSBs along Reach 2. This

local flood protection work was composed of significantly more erosion resistant materials

(primarily clay) than Reach 2 EBSBs. Exh. 31, Bea 702c Expert Report (Sept. 2007) at p. 85, ¶

112.

       535. The 40 Arpent Canal Levee, while being overtopped in both Hurricanes Betsy and

Katrina, survived largely intact because of the well constructed and grass sodded embankment

and the limited protection afforded by the forested wetlands in a sizeable area seaward of the

developed area. MSJ Exh. 13, Theis Expert Report, ¶ 28

       536. The healthy wetlands in front of large portions of the earthen 40 Arpent Canal

Levee had an anti-erosion or buffering effect in protecting this levee during Hurricane Katrina

because the wetlands absorbed some of the energy of the surge and waves. Exh. 28, Dalrymple

Depo. (Sept. 18, 2007) at 108:1-16.

       537. Similarly, the 11 miles of the Chalmette Extension—turning south from the MR-GO

and to the west to rejoin the main east bank levee of the Mississippi River—was fronted by

wetlands and did not experience the kind of wave attack that affected the Reach 2 EBSBs. Those

structures were also built more robustly with a river sand core covered by a substantial thickness

of hauled clay. This levee experienced overtopping in places where it was up to 4.5 feet deficient

in actual elevation relative to the design, but there was no breaching and very little damage

overall. The volume of water contributed by overtopping of this reach was negligible compared




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to what came across the failed Reach 2 alignment. The major difference in performance of the

LPV structures was the better protection afforded by natural vegetation and no wave attack

caused by the Reach 2 channel. Exh. 4, Team Louisiana Report at p. 135, Figure 44, 89a; Exh.

98, Morris Expert Report (July 2008) at p. 10.

                                  SOURCES OF FLOODING

       538. The depth of floodwaters at Plaintiffs’ property—what it was during Katrina and

what it would have been without the MR-GO’s impact on LPV structures (Scenario 2c)—is as

follows:

                                             Actual          Scenario 2c

Norman and Monica Robinson                       13’         <2’

Lattimore and Lattimore & Assoc.                  8’         <1’

Lucille and Tony Franz                           >8’         <0.5’

Tanya Smith                                      >8’         1’

Exh. 1771, Delft University, Comparison flood depth development between Katrina event and
Scenario 2C (Jan. 2009).

       539. Based on the foregoing data, the MR-GO was a substantial factor in the

catastrophic flooding of Plaintiffs’ property. Indeed, none of the Plaintiffs’ property would have

sustained catastrophic flooding but for the MR-GO’s defective conditions.

       540. Rainfall at Plaintiffs’ property was negligible compared to the floodwaters and did

not catastrophically flood their property. Exhs. 110-114, Crawford Expert Reports (April 2008).

       541. Plaintiffs’ property was not flooded due to pump failures or other reasons.

       542. Hurricane Katrina was nominally a storm that fit most SPH criteria. Sustained

winds over the Greater New Orleans metropolitan area were that of a Category 1 or Category 2

strength. Exh. 1600, Tropical Cyclone Report (Dec. 2005) at p. 8.



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